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             In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                             No. 19-0421V
                                       Filed: August 2, 2019
                                            Unpublished


    KENNETH GUMM, SR.,

                         Petitioner,
    v.                                                        Voluntary Dismiss; Order Concluding
                                                              Proceedings; Vaccine Rule 21(a)
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.



                               ORDER CONCLUDING PROCEEDINGS1

Dorsey, Chief Special Master:

          On August 1, 2019, the petitioner filed a Notice of Voluntary Dismissal in the
    above-captioned case.

          Accordingly, pursuant to Vaccine Rule 21(a), the above-captioned case is
    hereby dismissed without prejudice. The Clerk of the Court is hereby instructed that
    a judgment shall not enter in the instance case pursuant to Vaccine Rule 21(a).

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master

1
 The undersigned intends to post this order on the United States Court of Federal Claims' website. This
means the order will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished order contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).
